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Exhibit I

Karnati Academic Transcripts (unofficial)
UNIVERSITY OF

LOUISVILLE

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N - -
aName: Phanideep Karnati
Student ID: 5387764
oO
Student Address: 10808 Symington Cir
Louisville, KY 40241-1282
tT United States
Print Date: 2019-12-20
“begrees Awarded
Ciegree: Master of Science
—=€onfer Date: 2019-08-07
legree Honors: With Distinction

an: Business Analytics

Oother Institutions Attended

University Of Louisville
South Third Street

Louisville, KY 40292

United States.

Intemational Credential Evaluation-CBC
Closed

N/A,

United States.

Jawaharlal Nehru Tech Univ.
NIA,

Hyderabad

India

filed 01/02/20

O®€xternal Degrees
Cntemational Credential Evaluation-CBC

cvPachelor's Degree 2004-04-04
<—Pawaharial Nehru Tech Univ.
Bachelor's Degree 2004-04-04
oO
Zz a
Beginning of Graduate Record
Li Fall 2018
Crogram: Grad Business Degree
LLPtan: Business Analytics Major
urpouse Course Title Attempted
SBA 605 PROGRAMMING FOR ANALYTIC 1.500
ase 610 LINEAR ALGEBRA 1.500
TMSBA 615 INTRO. TO STAT. PACKAGES 1.500
‘SBA 620 DATA ANALYTICS | 3.900
SBA 625 STORYTELLING WITH DATA 3.000
© Attempted
colerm GPA 3.900 Term Totals 10.500
a Term Transfer Totals
g Attempted
sour GPA 3.900 Cum Totals 40.500
1
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a Spring 2019
(Program: Grad Business Degree
qyian: Business Analytics Major
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4.500
1.500
1.500
3.000
3.000

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10.500
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10.500

 

 

 

 

 

Page 1 of 1
Unofficial Transcript - Graduate Career
Course Course Title Atte te amed rade Points
MSBA 635 DATA ANALYTICS II 3.000 3.000 At 12.000
MSBA 645 DATA MINING 3.000 3.000 A 12.000
MSBA 650 DATA ANALYTICS III 3.000 3.000 B+ 9.900
MSBA 655 MARKETING ANALYTICS 1.500 1.500 A 6.000
Attempted Eamed GPA Units Points
Term GPA 3.800 Term Totals 10.500 10.500 10.500 39.900
‘ Term Transfer Totals 6.000
4 S Attempted Eamed GPA Units Points
x 0 A Cum GPA 3.850 Cum Totals 21.000 21.000 21.000 80.850
Kor ‘ a Summer 2019
¢ Program: Grad Business Degree
Plan: Business Analytics Major
Course oul je Attempted Eamed Grade Points
MSBA 630 DATA MANAGEMENT 3.000 3.000 At 12.000
MSBA 640 DECISION MODELS 3.000 3.000 At 12.000
MSBA 690 ANALYTICS CAPSTONE 3.000 3.000 At 12.000
Attempted Eamed GPA Units Points
Term GPA 4.000 Term Totals 9.000 9.000 9.000 36.000
| Term Transfer Totals 0.000
Attempted Eamed GPA Units Points.
Cum GPA 3.895 |Cum Totals 30.000 30.000 30.000 116.850
oO o
Fall 2018 g (@ FA . D.-
Grade Points Program: Grad Speed Degree _— \
Plan: Computer Science and Engineering Major
At 6.000
a tae Course Course Title Attempted  Eamed Grade Points
A 42.000 CECS 545 ARTIFICIAL INTELLIGENCE 3.000 3.000 A 12.000
A 42.000 CECS 795 SEMIN COMPUTER & ENG 1.000 1.000 A 4.000
GPA Units Paints Attempted amed GPA Units Points
40.500 40.950 Term GPA 4.000 \Term Tctals 4.000 4.000 4.000 16.000
Term Transfer Totals. 0.000
GPA Units Points i Attempted Eamed GPA Units Points
40.500 40.950 Cum GPA 3.907 Cum Totals 34.000 34.000 34.000 132.850
A ° K ef
Graduate Career Totals
MAT, oe?
Ce Cum GPA 3.907 Cum Totals 34.000 34.000 34.000 132.850

End of Unofficial Transcript - Graduate Career
